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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC, et al.,
       Plaintiﬀs,
v.
                                                Case No. 4:23-cv-165-AW-MAF
CORD BYRD, in his oﬃcial capacity as
Florida Secretary of State,
       Defendant.


                          NOTICE OF PRIOR CASE

      As required by Local Rule 5.6, Plaintiﬀs notify the Court that this case

includes a similar claim to those raised in Jones v. DeSantis, Consolidated Case No.

4:19-cv-300-RH/MJF (ﬁled June 28, 2019), and involves some common issues of

law and fact.

      In 2018, a supermajority of Florida voters passed Amendment 4 to end the

state’s policy of lifetime disenfranchisement for most returning citizens who had

completed the terms of their sentence, including probation and parole. Shortly after

Amendment 4 went into eﬀect, Florida’s Legislature enacted Senate Bill 7066 (SB

7066), amending Florida’s election code to prevent returning citizens whose rights

were restored by Amendment 4 from registering and voting until they have paid

certain legal ﬁnancial obligations. Laws of Fla. Ch. 2019-162 (CS for SB 7066), § 25



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at 28–29 (creating Fla. Stat. § 98.0751(1), (2)(a)).

      In 2019, a group of returning citizens and organizations, including Plaintiﬀs

League of Women Voters of Florida, Inc. and Florida State Conference of Branches

and Youth Units of the NAACP, brought suit in this Court challenging, under the

NVRA, the voter registration application that Florida adopted in 2019 after passage

of SB 7066, among other claims. See Jones v. DeSantis, 462 F. Supp. 3d 1196 (N.D.

Fla. 2019), rev’d in part and vacated in part sub nom. Jones v. Governor of Fla.,

975 F.3d 1016 (11th Cir. 2020) (en banc). After trial in 2020, this Court ruled in

Plaintiﬀs’ favor on their NVRA claim, enjoining the defendants there from using the

2019 registration application. Id. at 1251. Among other issues, this Court held that

the 2019 registration application was “objectionable” because it contained cryptic

language unlikely to be understood by applicants. Id. at 1244–45 (“[F]ew if any

registrants are likely to know that Amendment 4 is now ‘s. 4, Art. VI’ of the State

Constitution.”).

      In response to the injunction, Florida reverted to the registration application

that it had used prior to the enactment of SB 7066—the application at issue here.

nis application does not account for Amendment 4 or SB 7066, as it dates to about

2013. ne Court will need to consider much of the same facts and law in evaluating

the current application as it did for the 2019 application enjoined in Jones.




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Respectfully submitted this 26th day of April, 2023,

/s/ Nicholas L.V. Warren

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